
24 N.Y.2d 991 (1969)
Frontier Excavating, Inc., in Behalf of Itself and All Other Persons Entitled to Share in the Funds Received or to be Received by Sovereign Construction Co., Ltd., Respondent,
v.
Sovereign Construction Company, Ltd. of New Jersey, Appellant, et al., Defendant. (Action No. 1.)
Frontier Excavating, Inc., in Behalf of Itself and All Other Persons Entitled to Share in the Funds Received or to be Received by Sovereign Construction Co., Ltd., Respondent,
v.
Sovereign Construction Co., Ltd., Appellant, et al., Defendant. (Action No. 2.)
Court of Appeals of the State of New York.
Submitted April 21, 1969.
Decided May 15, 1969.
David P. Feldman for respondent.
Jerrold Morgulas for appellants.
Motion to dismiss appeal granted and appeal dismissed, with costs and $10 costs of motion, upon the ground that the order appealed from does not finally determine the actions within the meaning of the Constitution.
Motion to determine the finality of the order appealed from denied as unnecessary.
